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 8                         UNITED STATES DISTRICT COURT 

 9                      SOUTHERN DISTRICT OF CALIFORNIA 

10    BENJAMIN SCOTT MINER,                     I CASE NO. 15cv2764-WQH-RBB
11                                   Plaintiff, I ORDER
             v.
12
      J. PIETER SIKKEL~ ALLIANCE
13    ONE RECEIVABLtS
      MANAGEMENT INCORPORATED,
14
                                   Defendant.
1511 HAYES, Judge:
16         On June 24,2016, the Court issued an Order which stated:
17         This Order constitutes notice to Plaintiff that the Court will dismiss this
           action in its entirety without prejudice on July 25,2016 unless, no later
18         than that date, Plaintiff files eIther (1) proof tliat service of the summons
           and Complaint was timely effectuated or (2) a declaration under penalty
19         ofRerjury showing good cause for failure to timely effect service upon the
           Defendant accomp'anied by a motion for leave to serve process outside of
20         the 120 day perioQ.
21   (ECF No.5 at 2). The docket reflects that no response to the June 24, 2016 Order has
22   been filed.
23         IT IS HEREBY ORDERED that this action is dismissed without prejudice.
24

2511 DATED:         7p?//t
26                                                     WILLIAMQ.
                                                       United States
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